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2                               UNITED STATES DISTRICT COURT
3                                      DISTRICT OF NEVADA
4

5     BRYAN EAGLES,                                    Case No. 3:20-cv-00514-LRH-WGC
6            Petitioner,
                                                       ORDER
7               v.
8
      WILLIAM GITTERE, et al.,
9
             Respondents.
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12          In this habeas corpus action, on September 17, 2020, the Court appointed
13   counsel for the petitioner, Bryan Eagles. See Order entered September 17, 2020 (ECF
14   No. 4). Counsel—the Federal Public Defender for the District of Nevada—appeared for
15   Eagles on October 15, 2020 (ECF No. 7). The respondents have also appeared (ECF
16   No. 6). Therefore, the Court will set a schedule for further proceedings in this action, as
17   follows:
18          Filing Fee. Petitioner will have 45 days from the date of this order to pay the $5
19   filing fee for this action, or to file a new, complete application to proceed in forma
20   pauperis.
21          Amended Petition. If necessary, Petitioner shall file an amended petition for writ
22   of habeas corpus within 90 days from the date this order. The amended petition must
23   specifically state whether each ground for relief has been exhausted in state court; for
24   each claim that has been exhausted in state court, the amended petition must state
25   how, when, and where that occurred. If Petitioner determines that an amended petition
26   need not be filed, then, within 90 days from the date of this order, Petitioner shall file a
27   notice to that effect.
28   ///
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1           Response to Petition. Respondents will have 60 days following filing of the

2    amended petition to file an answer or other response to the amended petition. If

3    Petitioner does not file an amended petition, Respondents will have 60 days following

4    the due date for the amended petition to file an answer or other response to the original

5    petition.

6           Reply. Petitioner will have 45 days following filing of an answer to file a reply.

7    Respondents will thereafter have 30 days following filing of a reply to file a response to

8    the reply.

9           Briefing of Motion to Dismiss. If Respondents file a motion to dismiss, Petitioner

10   will have 60 days following filing of the motion to file a response to the motion.

11   Respondents will thereafter have 30 days following filing of the response to file a reply.

12          Discovery. If Petitioner wishes to move for leave to conduct discovery, Petitioner

13   must file such motion concurrently with, but separate from, the response to

14   Respondents’ motion to dismiss or the reply to Respondents’ answer. Any motion for

15   leave to conduct discovery filed by Petitioner before that time may be considered

16   premature, and may be denied, without prejudice, on that basis. Respondents must file

17   a response to any such motion concurrently with, but separate from, their reply in

18   support of their motion to dismiss or their response to Petitioner’s reply. Thereafter,

19   Petitioner will have 20 days to file a reply in support of the motion for leave to conduct

20   discovery.

21          Evidentiary Hearing. If Petitioner wishes to request an evidentiary hearing,

22   Petitioner must file a motion for an evidentiary hearing concurrently with, but separate

23   from, the response to Respondents’ motion to dismiss or the reply to Respondents’

24   answer. Any motion for an evidentiary hearing filed by Petitioner before that time may

25   be considered premature, and may be denied, without prejudice, on that basis. The

26   motion for an evidentiary hearing must specifically address why an evidentiary hearing

27   is required and must meet the requirements of 28 U.S.C. § 2254(e). The motion must

28   state whether an evidentiary hearing was held in state court, and, if so, state where the
                                                   2
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1    transcript is located in the record. If Petitioner files a motion for an evidentiary hearing,

2    Respondents must file a response to that motion concurrently with, but separate from,

3    their reply in support of their motion to dismiss or their response to Petitioner’s reply.

4    Thereafter, Petitioner will have 20 days to file a reply in support of the motion for an

5    evidentiary hearing.

6           Finally, the Clerk of the Court is directed to update the docket for this case to

7    reflect that the correct name of the respondent warden of Ely State Prison is William

8    Gittere.

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10          IT IS SO ORDERED.

11          DATED this 19th day of October, 2020.
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                                                LARRY R. HICKS
14                                              UNITED STATES DISTRICT JUDGE
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